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                                                           BY                        peptln



                           IJNITED STATES DISTRICT COURT
                                  DISTRICT OF NEVADA

UNITED STATESOF AM ERICA,                      )
                                               )
                     Plaintiftl                )
                                               )
        v.                                     )         2:l0-CR-565-RLH (PAL)
                                               )
ANDREW KAUFM AN,                               )
                                               )
                     Defendant.                )
                             FIN AL O M ER O F FO RFEITUR E
        On April15,201l,the United States DistrictCourtforthe DistrictofNevada entered an

AmendedPreliminaryOrderofForfeiturepttrsuantto Fed.R.Crim.P.32.2(b)(1)and (2))Title 18,
United StatesCode,Section924(d)(1)andTitle28,United StatesCode,Section2461(c);Title18,
UnitedStatesCode,Section 981(a)(1)(C)andTitle28,United StatesCode,Section,2461(c);Title
21,United StatesCode,Section 853418;arldTitle26,United StatesCode,Section5872(a)andTitle
                                  .



28,United StatesCode,Section 2461(c)based upon the pleaofguilty by defendantANDREW
KAUFM AN to crim inaloffenses,forfeiting specific property alleged in the Superseding Crim inal
lndictmentand agreed to in the Plea M em orandum and shown by the United States to have the
requisitenexusto the offensesto whichdefendantANDREW K AUFM AN pled guilty.Superseding
Indictment,ECF No.49;PleaM em orandum ,ECF No.62;M inutesofChangeofPleaProceedings,
ECF No.64;Am ended Prelim inary OrderofForfeiture,ECF N o.112.
        This Courttinds the United States of Am erica published the notice of the forfeiture in
accordanoew ith tlw law viatheoftk ialgovem m entintenwtforfeitlzre site,w ww.forfeitm e.gov,
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    consecutively from April27,2011,through M ay 26,2011,notifyinga1lthirdpartiesoftheirrightto
1
i
    petitiontheCourt.NoticeofFilingProofofPublication,ECFNo.123.
            ThisCourttindsno petitionwastiled herein by oron behalfofany person orentityandthe
    tim eforGling such petitionsand claim shasexpired.
            n isCourttsndsnopetitionsarependingwith regardtothemssetsnamedbereinand tlw time
    forpresenting such petitionshasexpired.
            THEREFORE,IT IS HEREBY ORDERED,ADJUDGED,AND DECREED thatal1right,
    title,and interestin the property hereino erdescribed iscondemned, forfeited,and vested in the

    United States ofAmerica pmsuantto Fed.R.Crim.P.32.2(b)(4)(A)and (B);Fed.R.Crim.P.
    32.2(c)(2);Titlel8,UnitedStatesCode,Section924(d)(1)andTitle28,UnitedStatesCode,Section
    2461(c);Titlel8,UnitedStatesCode,Section981(a)(1)(C)andTitle28,UnitedStatesCode,Section,
    2461(c);Title21,UnitedStatesCode,Section8534p))Title26,UnitedStatesCode,Section5872(a)
    andTitle28sUnitedStatesCode,Section2461(c);andTitle21,UnitedStatesCode,Section853(n)(7)
    and shallbedisposed ofaccordingto law:
                         Rom arm M odelGP-W ASR AK-47 style 7.62mm rifle,serial# PU-6692-85)
                  2.     YUGO model59/66,7.62n1m rifle,serial# 551451:
                  3.     Norinco,M odelSKS,7.62mm rifle,serial# 20029181;
                  4.     IZHM ASH m odelSaigw 7.62 mm ritle,serial# 1403104475)
                         Uzi9m m semi-autopistol,serial# UPû3531;
                  6.     JLD Entem risesM odelPTR91,.308calibersem i-auto rifle, serial# A 1341;
                  7.     Harrington andRichardson,M odelHandiRifle, .223 caliberrifle,serial#
                         11X200769;
                  8.     RugerM ini-l4,.223 calibersem i-auto rifle,serial# 185-35560;
                 9.     UNK,M 1s30 Calrifle,serial# 8847153;

                  10. Poland,M odelPM KM S (AKM -type),7.62 x 39 mm calibermachineguns
                        serial# K5115107with one3o-rotmd magazine;
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                  Romaniw M odelAIM /PM 63(AKM -type),7.62x39mm calibermachinegtm,
                  serial# FG021lwith one3o-round magazine;
            12.   Tula,M odelAKM ,7.62 x 39 caliberm achinegtm ,serial# 596014;
            13.   IzhevsksM odelAKM S,7.62 x 39 calibermachinegun,serial# 219291;
            14.   Vulcan ArmsM odelV 15,5.56m m,full-auto m achinegun rifle,serial#
                  P8244;

                  Romanian,M odelAIM /PM 63(AKM -type),7.62 x 39mm calibermachine
                  gun,serial# N 174956)
            16.   Tula,modelAKM ,7.62x 39mm caliberm achinegtm,serial# 98l151;
            17.   Izhevsk,M od.AKM ,7.62 x 39 mm cal.machine gun,identified by number
                  B1601;
            18.   Bulgarian,Mod.AKK (M G47),7.62x39mm cal.machinegunyserial#KO
                  154011:

            19. Romanian,ModelAIM S/PM 65(AKM -type),7.62x39mm cal.machinegun,
                  serial# A122192
            20.   AKM -TD e,7.62x39 m m cal.machine gun,m akertmcertain,serial# UM -
                  7313-05;

                  kaq,M odelTabtlkIAFVM -THXI,7.62x39mm cal.machinegun,serial#
                  8037669;
            22.   Zastava Arm s,M odelM 70AB2.7.62x39mm cal.machine gun,serial# B-
                  95917;
            23.   Tula,M odelAKM ,7.62 X 39mm caliberm achine gun,serial# 842782)
            24.   Tula,M odelAKM ,7.62X 39m m m achinegtm,serial# 596085;
            25.   Norinco,M odel56-1 7.62 X 3911u11calibermachine gkm,serial# 26022877;
            26.   Tula,M odelAKM 7.62 X 39mm caliberm achinegun,serial# 597584;
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            27.       Zastava Arms,modelM 70AB2,7.62 X 39mm caliberm achine gun,serial
                      # 8-96106;
            28.       Zastava Arm s,M odelM 70AB2,7.62 X 39n1m caliberm achine gunsserial
                      # 602379)
            29.       Ruger,P95DC,9m m pistol,serial# 314-38221;
            30.       Ruger,P95DC,9mm pistol,serial# 315-58276)
            31.       Ruger,P95DC,9m m pistol,serial# 315-65017;
            32.       Ruger,P95DC,9m m,serial# 314-39509;
            33.       Ruger,P95DC,9mm ,serial# 315-65022;
            34.       Arm sCorpsM -21/14 7.62 rifle,serial# 11738;
            35.       Savage300Rem .rifle,serial# 17936150;
            36.       Colt,AT-15 .223 rifle,serial# L817032093;
            37.       Ithaca,unknown calibershotgtm,serial# 371290356;
            38.   .   RugerP95,9mm serial# 314-34728;

            39. Deringer,.45caliberpistol,serial#4897%
            40.       Smith & W esson,.357revolver,serial# BNW l214;
                      M asterpiece Arm s,.45 caliberpistolwith extension,serial# A4802;
            42.       Rem ington,M odel742,serial# 4771;

            43.       Ruger,modelP95DC,9mm pistol,serial# 314-3472%
            44.       Ruger,m odelP95DC,9mm pistol,serial# 315-65178;
            45.       Sig Sauer,modelP220,.45 caliberpistolsserial# 0369927;
            46.       Unknown m anufacturer,unknown model,unknown caliberrifle,serial#
                      61134)
            47.       New England Arm s,modelP,12 GA shotgun,serial# N51323393;
            48.       Unknown manufacturer,unknown model,Imknowncaliberritle, serial#
                      32413;




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            49.   Unknown m anufacturer,m odel98,unknown oaliberl'itle,serial# 1-9348)
            50.   W inchester,m odel1200,12 GA shotgtm sserial# L1156207;
                  Romanian,modelPSL rifle,7.62x 54R caliberm achineglm SerialNum ber:
                  N 4250)
                  Unknown manufacturer,unknown model,llnknown caliberm achinegtm,
                  serial# F-3452,
                                .
            53.   Unknown manufactm er,unknown m odel,unknown calibermachine gun,
                  serial# 56401731)
            54.   Unknown manufacturer,tmknown m odel,llntnown calibermachine gun,
                  serial# 598675;
                  Rugersm odelP95DC,9m m pistol,serial# 315-65182;
            56.   Star,Bonifacio Echevenia,m odelGold Setra 2002.9mm hand gun,serial
                  # 60519;
            57.   Beretta,Pietro S.P.A.,m odel925,9m m hand gun,serial# X22657Z;
            58.   Ruger,modelP95DC,9m m caliberpistol,serial# 315-63353;
            59.   Unknown manufactm er,m odelM P-5,9mrncaliberm achinegun,serial
                  # (249892:
            60.   Beretta,Pietro S,P.A.,model12S,9mm caliberm achinegtm , serial#
                  F0819l;
            61.   Unknown manufacturer,unknown m odel,llnknown calibermachinegtm ,
                  serial# U6335;
            62.   Unltnown manufacturer,m odel5192.llnknown caliberm achine gun, serial
                  # 83566;
            63.   Unknown mmw fachzrer,modelM 92sllnknown caliberm achine gtm , serial
                  # 83587;




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               64.     Unknown manufactttrer,m odelM 92,'lnknown caliberm achine gun,serial
                       # 83683)
                       Unknown manufacturer,model5192,unknown caliberm achinegtm,
                       serial# 83692;
               66.     Unknown mmm facturersmodel5192,unknown calibermachine gun,selial
                       # 82296;
               67.     Unknown manufacturer,lmknownm odel,llnlcnown calibermachinegtm ,
                       serial# 5142783)
               68.     Ruger,m odelP95DC,9mm caliberhand gun.serial# 314-35165;
               69.     Glock,model19,9mm caliberhand gun,serial# GND 176;
               70.     Ruger,m odelP95DC,911,
                                            1111caliberhand gun,serial# 314-39389;
                       Ruger,m odelP95DC,9n1m caliberpistol,serial# 315-64373;
               72.     Astl'a,m odelK I),gmm bandgun,serial# 830267;
                       any anda11am munition;
               74.     $25,584.00 in United StatesCurrency;and
               75. aninpersonam criminalforfeittlremoneyjudgmentof$38,220.00inUnited
                       StatesCurrency.
        IT IS FURTHER ORDERED,ADJUDGED,AND DECREED thatany and allforfeited
funds,including butnotlimited to,currency,currency equivalents,certitk atesofdeposit, as well
asany incom edelived asa resultoftheUnited StatesofAm erica'sm anagementofanyproperty
forfeited herein,and theproceedsfrom thesale ofany forfeited property shallbedisposed of
according to law .
        n tClerk ishereby directedto send copiesofthisOrderto allcounselofrecord and three
certified copies to the United StatesA ttorney'sO ftice.
        DATED this F /            dayof Tz                    ,2012.

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